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 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                                FOR THE DISTRICT OF NEVADA
 8
 9   COLONY INSURANCE COMPANY, a                        Case No.
     foreign insurance company,
10
                                                         COMPLAINT FOR
11                         Plaintiff,                    DECLARATORY RELIEF
12          v.
13   GVS CONSTRUCTION LLC, a Nevada
     limited liability company; DENNIS J.
14   DIRKSEN, an individual; CAROL J.
     MARKER, an individual; CAROL J.
15   MARKER, TRUSTEE OF THE CAROL J.
     MARKER FAMILY TRUST, a Nevada
16   Trust; DENNIS J. DIRKSEN TRUSTEE OF
     THE DENNIS J. DIRKSEN REVOCABLE
17   LIVING TRUST, a Nevada Trust; DOE
     INDIVIDUALS I-X, inclusive, and ROE
18   CORPORATIONS I-X, inclusive,
19                         Defendants.
20          Plaintiff Colony Insurance Company (“CIC”), through its counsel undersigned and
21   for its Complaint for Declaratory Relief, hereby alleges as follows:
22                                          THE PARTIES
23          1.     CIC is a foreign insurance company, incorporated in the state of Virginia,
24   with its principal place of business and citizenship in the state of Illinois.
25          2.      Defendant GVS Construction LLC (“GVS”) is a Nevada limited liability
26   company, doing business in Nevada.
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 1          3.       Defendants Dennis J. Dirksen and Carol J. Marker are both individuals,
 2   residing in the state of Nevada with citizenship in the state of Nevada.
 3          4.       Defendant Dennis J. Dirksen, trustee for the Dennis J. Dirksen Revocable
 4   Living Trust, a valid Nevada trust, and Defendant Carol J. Marker, trustee of the Carol J.
 5   Marker Family Trust, a valid Nevada trust, at all times relevant herein, owned a parcel of
 6   property located at 308 N. Magic Way, Henerson, Nevada 89015.
 7                                 JURISDICTION AND VENUE
 8          5.       This court has jurisdiction under 28 U.S.C. § 1332. Venue in this judicial
 9   district is appropriate pursuant to 28 U.S.C. § 1391 (a). There is diversity among the parties
10   and the amount in controversy with regard to the underlying dispute is in excess of $75,000.
11                                  GENERAL ALLEGATIONS
12          6.       This action for declaratory relief arises from certain claims asserted in the
13   lawsuit captioned GVS Construction v. Dirksen et al., pending in the District Court of
14   Nevada, Clark County, cause number A-22-848086-C (“the underlying lawsuit”).
15          7.       The underlying lawsuit involves allegations of defective construction by the
16   homeowners, Dennis Dirksen and Carol Marker (collectively “homeowners”), of a single-
17   family residence located at 308 N. Magic Way in Henderson, Nevada (previously known
18   as 707 N. Parawan Street) (the “Property”).
19          8.       On or around February 13, 2019, the homeowners entered into a contract
20   with GVS for the construction of a new residence.
21          9.       GVS acted as the general contractor and self-performed a majority of the
22   work, but did use subcontractors for mechanical, plumbing, electrical and fire sprinklers.
23          10.      In November 2021, GVS was removed from the project and all construction
24   of the Property ceased. The property has been vacant ever since.
25          11.      On February 10, 2022, GVS filed a Complaint against the homeowners
26   alleging that it was owed a balance of $239,878.00 for the construction and work done on
27   the Property.
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 1          12.    In response, the homeowners filed a Counterclaim against GVS on July 11,
 2   2022, alleging various construction defects at the property.
 3          13.    CIC issued a commercial general liability policy to GVS, Policy No. 600 GL
 4   0206359-00, with effective dates of 12/11/21 – 12/11/22 (“the Policy”).
 5          14.    The insuring agreement of the Policy states as follows:
 6                                              ***
 7          SECTION I – COVERAGES
 8          COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE
            LIABILITY
 9
            1.     Insuring Agreement
10                 a.    We will pay those sums that the insured becomes legally
                         obligated to pay as damages because of “bodily injury” or
11                       “property damage” to which this insurance applies. We will
                         have the right and duty to defend the insured against any “suit”
12                       seeking those damages. However, we will have no duty to
                         defend the insured against any “suit” seeking damages for
13                       “bodily injury” or “property damage” to which this insurance
                         does not apply….
14
15                 b.     This insurance applies to “bodily injury” or “property damage”
                          only if:
16
                          (1)    The “bodily injury” or “property damage” is caused by
17                               an “occurrence” that takes place in the “coverage
                                 territory”;
18                        (2)    The “bodily injury” or “property damage” occurs during
                                 the policy period; and
19
                          (3)    Prior to the policy period, no insured listed under
20                               Paragraph 1. Of Section II – Who Is An Insured and no
                                 “employee” authorized by you to give or receive notice
21                               of an “occurrence” or claim, knew that the “bodily
                                 injury” or “property damage” had occurred, in whole or
22                               in part. If such a listed insured or authorized “employee”
                                 knew, prior to the policy period, that the “bodily injury”
23                               or “property damage” occurred, then any continuation,
                                 change or resumption of such “bodily injury” or
24                               “property damage” during or after the policy period will
                                 be deemed to have been known prior to the policy
25                               period.
26                                              ***
27          15.    The Policy includes the following exclusions:
28
                                                   3
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 1
                                              ***
 2
          2. Exclusions
 3           This insurance does not apply to:
                                             ***
 4
             j. Damage to Property
 5
               “Property damage” to:
 6                                           ***
 7                     (5) That particular part of real property on which you or any
                           contractors or subcontractors working directly or indirectly
 8                         on your behalf are performing operations, if the “property
                           damage” arises out of those operations; or
 9
                       (6) that particular part of any property that must be restored,
10                         repaired or replaced because "your work" was incorrectly
                           performed on it.
11
12                  Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to
                    liability assumed under a sidetrack agreement.
13                  Paragraph (6) of this exclusion does not apply to “property
                    damage” included in the “products-completed operations hazard”.
14
             k. Damage To Your Product
15              “Property damage” to “your product” arising out of it or any part of it.
16           l. Damage To Your Work
17              "Property damage" to "your work" arising out of it or any part of it and
                included in the "products-completed operations hazard".
18              This exclusion does not apply if the damaged work or the work out of
                which the damage arises was performed on your behalf by a
19              subcontractor.
20           m. Damage To Impaired Property Or Property Not Physically
                Injured
21
               “Property damage” to “impaired property” or property that has not
22             been physically injured, arising out of:
                (1) A defect, deficiency, inadequacy or dangerous condition in “your
23                  product” or “your work”; or
24              (2) A delay or failure by you or anyone acting on your behalf to
                    perform a contract or agreement in accordance with its terms.
25             This exclusion does not apply to the loss of use of other property
               arising out of sudden and accidental physical injury to “your product”
26             or “your work” after it has been put to its intended use.
27                                            ***
28
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 1        16.      The Policy includes the following definitions:
 2
                                                 ***
 3        SECTION V – DEFINITIONS
 4
          13. “Occurrence” means an accident, including continuous or repeated
 5            exposure to substantially the same general harmful conditions.

 6                                           ***
 7        16. “Products-completed operations hazard”:

 8              a. Includes all “bodily injury” and “property damage” occurring away
                   from premises you own or rent and arising out of “your product” or
 9                 “your work” except:

10                  (1) Products that are still in your physical possession; or

11                  (2) Work that has not yet been completed or abandoned. However,
                        “your work” will be deemed completed at the earliest of the
12                      following times:

13                      (a) When all of the work called for in your contract has been
                            completed.
14
                        (b) When all of the work to be done at the job site has been
15                          completed if your contract calls for work at more than one
                            job site.
16
                        (c) When that part of the work done at a job site has been put
17                          to its intended use by any person or organization other than
                            another contractor or subcontractor working on the same
18                          project.

19                      Work that may need service, maintenance, correction, repair or
                        replacement, but which is otherwise complete, will be treated as
20                      completed.

21        17.“Property damage” means:
22              a. Physical injury to tangible property, including all resulting loss of use
                   of that property. All such loss of use shall be deemed to occur at the
23                 time of the physical injury that caused it; or
                b. Loss of use of tangible property that is not physically injured. All such
24                 loss of use shall be deemed to occur at the time of the “occurrence”
                   that caused it.
25
26                                               ***
          21.      “Your product”:
27
                   a.    Means:
28
                                                    5
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 1                         (1)    Any goods or products, other than real property,
                                  manufactured, sold, handled, distributed or disposed of
 2                                by:
                                  (a)     You;
 3                                (b)     Others trading under your name; or
 4                                (c)     A person or organization whose business or
                                          assets you have acquired; and
 5                         (2)    Containers (other than vehicles), materials, parts or
                                  equipment furnished in connection with such goods or
 6                                products.
                    b.     Includes:
 7                         (1)    Warranties or representations made at any time with
 8                                respect to the fitness, quality, durability, performance or
                                  use of “your product”; and
 9                         (2)    The providing of or failure to provide warnings or
                                  instructions.
10                  c.     Does not include vending machines or other property rented to
                           or located for the use of others but not sold.
11
12         22. “Your work:

13               a. Means:
                    (1) Work or operations performed by you or on your behalf; and
14                  (2) Materials, parts or equipment furnished in connection with such
                        work or operations.
15               b. Includes:
                    (1) Warranties or representations made at any time with respect to the
16                      fitness, quality, durability, performance or use of “your work”; and
                    (2) The providing of or failure to provide warnings or instructions.
17                                                  ***
18         17.      The Policy also contains a Continuous, Progressive or Repeated-Bodily
19   Injury or Property Damage endorsement (U073-0815) which states:
20                                           ***
                        EXCLUSION – CONTINUOUS, PROGRESSIVE
21                         OR REPEATED – BODILY INJURY OR
                                   PROPERTY DAMAGE
22         This endorsement modifies insurance provided under the following:
23         COMMERCIAL GENERAL LIABILITY COVERAGE PART
24         A. SECTION I – COVERAGES, COVERAGE A – BODILY INJURY
              AND PROPERTY DAMAGE LIABILITY, 2. Exclusions is amended
25            and the following is added:
              This insurance does not apply to:
26            Continuous, Progressive or Repeated Bodily Injury or Property
27            Damage

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 1                “bodily injury” or “property damage”, including any continuous or
                  progressively deteriorating or repeated “bodily injury” or “property
 2                damage”, that first occurs:
 3                1. prior to the effective date of this policy and continues during the policy
                     term; or
 4                2. prior to the effective date of this policy, continues during the policy
                     term, and ends after the expiration date of this policy.
 5                This exclusion applies regardless of whether such “bodily injury” or
 6                “property damage” is known or unknown by any “Insured”.
                  However, this exclusion does not apply to “bodily injury” or “property
 7                damage”, including continuous or progressively deteriorating or repeated
                  “bodily injury” or “property damage”, that first occurs during the policy
 8                term and ends after the expiration date of this policy.
 9
            B. SECTION V – DEFINITIONS is amended and the following added:
10             “Insured” means any person or organization qualifying as an insured
11             under SECTION II – WHO IS AN INSURED along with either any
               additional named insured or additional insured whether added to this
12             policy by endorsement or otherwise.

13          18.      CIC is defending GVS in the underlying lawsuit under a reservation of rights.
14   The above policy provisions, among others, have been cited in CIC’s reservation of rights
15   letter to GVS.
16                         FIRST CLAIM FOR DECLARATORY RELIEF
17                                           (Duty to Defend)
18          19.      CIC hereby incorporates all of the above paragraphs and allegations as if fully
19   set forth herein.
20          20.      The Policy provides coverage only for an “occurrence” that has resulted in
21   “property damage” that occurs during the policy period.
22          21.      The Policy excludes coverage for “property damage” to “your product” and
23   to “your work”.
24          22.      The Policy further excludes coverage for “property damage” that is
25   continuous or progressive which first occurs prior to the inception of the Policy and
26   continues during that Policy period.
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 1          23.    The claims against GVS in the underlying lawsuit do not fall within the
 2   insuring agreement of the Policy and/or are excluded by the various exclusions in the Policy.
 3          24.    As a result of all of the above-referenced policy provisions, the claims are not
 4   covered under the Policy, and CIC has no duty to further defend GVS in the underlying
 5   lawsuit.
 6          25.    For these and other reasons, and due to a dispute as to whether CIC has a duty
 7   to further defend GVS in the underlying lawsuit, an actual controversy now exists between
 8   the parties herein regarding coverage under the Policy.
 9          26.    CIC therefore seeks a judicial determination of its rights and obligations under
10   the Policy with respect to its duty to defend GVS in the underlying lawsuit. Such a judicial
11   determination is necessary and appropriate so that CIC may ascertain its rights and
12   obligations under the terms its Policy.
13                       SECOND CLAIM FOR DECLARATORY RELIEF
14                                      (Duty to Indemnify)
15          27.    CIC hereby incorporates all of the above paragraphs and allegations as if fully
16   set forth herein.
17          28.    The Policy provides coverage only for an “occurrence” that has resulted in
18   “property damage” that occurs during the policy period.
19          29.    The Policy excludes coverage for “property damage” to “your product” and
20   to “your work”.
21          30.    The Policy further excludes coverage for “property damage” that is
22   continuous or progressive which first occurs prior to the inception of the Policy and
23   continues during that Policy period.
24          31.    The claims against GVS in the underlying lawsuit do not fall within the
25   insuring agreement of the Policy and/or are excluded by the various exclusions in the Policy.
26          32.    As a result of all of the above-referenced policy provisions, the claims are not
27   covered under the Policy, and CIC has no duty to indemnify GVS in the underlying lawsuit.
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 1          33.    For these and other reasons, and due to a dispute as to whether CIC has a duty
 2   to indemnify GVS in the underlying lawsuit, an actual controversy now exists between the
 3   parties herein regarding coverage under the Policy.
 4          34.    CIC therefore seeks a judicial determination of its rights and obligations under
 5   the Policy with respect to its duty to indemnify GVS in the underlying lawsuit. Such a
 6   judicial determination is necessary and appropriate so that CIC may ascertain its rights and
 7   obligations under the terms its Policy.
 8                       THIRD CLAIM FOR DECLARATORY RELIEF
 9                                             (Coverage)
10          35.    CIC hereby incorporates all of the above paragraphs and allegations as if fully
11   set forth herein.
12          36.    The Policy provides coverage only for an “occurrence” that has resulted in
13   “property damage” that occurs during the policy period.
14          37.    The Policy excludes coverage for “property damage” to “your product” and
15   to “your work”.
16          38.    The Policy further excludes coverage for “property damage” that is
17   continuous or progressive which first occurs prior to the inception of the Policy and
18   continues during that Policy period.
19          39.    The claims against GVS in the underlying lawsuit do not fall within the
20   insuring agreement of the Policy and/or are excluded by the various exclusions in the Policy.
21          40.    As a result of all of the above-referenced policy provisions, the claims are not
22   covered under the Policy, and CIC has no duties to GVS in the underlying lawsuit.
23          41.    For these and other reasons, and due to a dispute as to whether CIC has any
24   duties to GVS in the underlying lawsuit, an actual controversy now exists between the
25   parties herein regarding coverage under the Policy.
26          42.    CIC therefore seeks a judicial determination of its rights and obligations under
27   the Policy with respect to its duties to GVS in the underlying lawsuit. Such a judicial
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 1   determination is necessary and appropriate so that CIC may ascertain its rights and
 2   obligations under the terms its Policy.
 3          WHEREFORE, CIC brings this Complaint for Declaratory Relief against defendants
 4   and prays for judgment as follows:
 5          1.     For a judicial determination that CIC has no obligation to further defend GVS
 6                 in the underlying lawsuit;
 7          2.     For a judicial determination that CIC has no obligation to indemnify any of
 8                 the parties for any judgment or settlement reached in the underlying lawsuit;
 9          3.     For a judicial determination that the CIC policy provides no coverage for the
10                 claims asserted in the underlying lawsuit;
11          4.     For reasonable attorneys’ fees incurred herein;
12          5.     For CIC’s costs incurred herein; and
13          6.     For any other and further relief as this Court may deem just and proper.
14                 DATED this 11th day of October 2024.
15
                                                       BARRETT & MATURA, P.C.
16
17                                                     By /s/ Kevin C. Barrett
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